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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY
   ANDREW L. SCHLAFLY, on behalf
   ofhimselfindividually and on behalf of
   all other members ofEagle Forum, a
   non-Profit membership corporation,
                                              Civil Action No. 17-2522 (ES) (SCM)
           Plaintiff,
       v.                                     ORDER TO DISBURSE
   EAGLE FORUM, et at,                        INTERPLEADED FUNDS

                      Defendants.
                                                   A
           AND NOW, this        a’   day of_______________ 2019, for the reasons

  stated in this Court’s Opinion entered ohune 1/2019 (Doe. 238), it is hereby

  ORDERED that the Clerk of the Court shall forthwith pay from the appropriate

  account(s) in the C.R.LS. the total principal amount of $3,271,593.51, plus all

  accrued interest and minus any Court administrative fee(s), to Eagle Forum do

  James Sanders, Esq., SmithAmundsen LLC, 120 S. Central Avenue, Suite 700, St.

  Louis, MO 63105 (“Recipient”), or as


                                         JfON.tST        a SALAS, U.S.D.J.

           I recommend approval of the ove orde an declare that no lien or other

  claim against monies deposited in the Registry of the Court in this matter is on file

  in my office as of this date.

  Dated: 11/72,, / 9                        %tu4S         ,%rnceA—”
                 11                       (Clerk/Deputy Clerk)



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